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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE:                                   )       Case No. 19-10562
                                         )
BCause Mining, LLC,                      )       Judge Janet S. Baer
                                         )       Chapter 11
         debtor/debtor-in-possession.    )       (Jointly Administered)

                                  NOTICE OF MOTION

TO:      ATTACHED SERVICE LIST

       PLEASE TAKE NOTICE that on the 30th day of July, 2019, at 9:30 a.m., or soon
thereafter as counsel can be heard, I shall appear before the Honorable Janet S. Baer,
Bankruptcy Judge, in the room usually occupied by her as Courtroom 615 in the United
States Bankruptcy Court in the Everett McKinley Dirksen Federal Building, 219 S.
Dearborn Street, Chicago, Illinois, or before any other Judge who may be sitting in her
place and stead and shall present the Motion to Enter Into Equipment Rent to Own
Agreement With SBI Crypto Co., Ltd., a copy of which is attached hereto and herewith
served upon you, and shall pray for the entry of an Order in compliance therewith.

         AT WHICH TIME and place you may appear if you so see fit.

                                                       /s/Scott R. Clar
                                                       Crane, Simon, Clar & Dan
                                                       135 S. LaSalle St., Ste. 3705
                                                       Chicago, Illinois 60603
                                                       (312) 641-6777

                               CERTIFICATE OF SERVICE

       The undersigned, being first duly sworn on oath deposes and states that he caused
a copy of the foregoing Notice and attached Motion to be served on all parties listed on
the attached Service List via the Court’s Electronic Registration on the 25th day of July,
2019 before the hour of 5:00 p.m.


                                                       /s/Scott R. Clar




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                                   SERVICE LIST

Court’s Electronic Registration:

Patrick S. Layng                              J. Mark Fisher
Office of the United States Trustee           Sarah K. Angelino
219 S. Dearborn St., Rm. 873                  Schiff Hardin LLP
Chicago, IL 60604                             233 S. Wacker Dr., #7100
USTPRegion11.ES.ECF@usdoj.gov                 Chicago, IL 60606
                                              mfisher@schiffhardin.com
David A. Agay                                 sangelino@schiffhardin.com
Shara C. Cornell
MCDONALD HOPKINS LLC                          Brian L. Shaw
300 North LaSalle Street, # 1400              Christina Sanfelippo
Chicago, IL 60654                             Fox Rothschild LLP
dagay@mcdonaldhopkins.com                     321 N. Clark St., #1600
scornell@mcdonaldhopkins.com                  Chicago, IL 60654
                                              bshaw@foxrothschild.com
Maria G. Carr                                 csanfelippo@foxrothschild.com
McDonald Hopkins LLC
600 Superior Avenue, #2100                    Jennifer McLain McLemore
Cleveland, OH 44114                           Williams Mullen
mcarr@mcdonaldhopkins.com                     200 S. 10th St., #1600
                                              Richmond, VA 23219
Jamie L. Burns                                Jmclemore@williamsmullen.com
Levenfeld Pearlstein, LLC
2 N. LaSalle Street, Suite 1300               Jason M. Torf
Chicago, Illinois 60602                       IceMiller
jburns@lplegal.com                            200 W. Madison Street Suite 3500
                                              Chicago, IL 60606-3417
Marc I. Fenton                                Jason.torf@icemiller.com
Levenfeld Pearlstein, LLC
2 N. LaSalle Street, Suite 1300               VIA EMAIL
Chicago, Illinois 60602                       George Bogris
mfenton@lplegal.com                           Mintzer Sarowitz Zeris Ledva & Meyer
                                              810 Gleneagles Court, #304
Devon J. Eggert                               Towson, MD 21286
Shelly A. DeRousse                            gbogris@defensecounsel.com
Elizabeth L. Janczak
Freeborn & Peters LLP                         Paul Bozych
311 South Wacker Drive, # 3000                Nielsen, Zehe & Antas, P.C.
Chicago, IL 60606                             Wesco Distribution, Inc.
deggert@freeborn.com                          55 W. Monroe St., Ste. 1800
sderousse@freeborn.com                        Chicago, IL 60603
ejanczak@freeborn.com                         pbozych@nzalaw.com



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Seth A. Robbins
Robbins Law Group
1100 N. Glebe Rd., Ste. 1010
Arlington, VA 22201
srobbins@robbins-lawgroup.com

Russell R. Johnson III
John M. Craig
Law Firm of Russell R. Johnson III, PLC
2258 Wheatlands Drive
Manakin Sabot, VA 23103
russell@russelljohnsonlawfirm.com

Jonathan Tanemori
jotanemori@sbigroup.co.jp




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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE:                                    )       Case No. 19-10562
                                          )
BCause Mining, LLC,                       )       Judge Janet S. Baer
                                          )       Chapter 11
         debtor/debtor-in-possession.     )       (Jointly Administered)

                   MOTION TO ENTER INTO EQUIPMENT RENT TO
                   OWN AGREEMENT WITH SBI CRYPTO CO., LTD.

         BCause Mining, LLC, a Virginia limited liability company, debtor/debtor-in-

possession herein (“Debtor”), by and through its attorneys, makes this Motion for

Authority to Enter Into Equipment Rent to Own Agreement with SBI Crypto Co., Ltd.

(“SBI”), and in support thereof, states as follows:

                                     INTRODUCTION

         1.    On April 11, 2019, the Debtor filed its voluntary petition for relief under

Chapter 11 of the Bankruptcy Code (“Petition Date”).

         2.    The Debtor has been operating its business and managing its financial

affairs as debtor-in-possession since the Petition Date. No trustee, examiner or

committee of unsecured creditors has been appointed in the Debtor’s Chapter 11 case.

         3.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. Sections

157 and 1334.

         4.    This matter constitutes a “core” proceeding within the meaning of 28 U.S.C.

Section 157(b).

         5.    The statutory predicates for the relief requested in this Motion are Sections

105 and 363 of the Bankruptcy Code.




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                         RELEVANT FACTUAL BACKGROUND

       6.     The Debtor is in in the business crypto currency mining, which is the

process of producing digital currency using cryptography and high-powered computers

known as mining rigs, or miners. The Debtor does not itself mine, but is a service provider

that hosts a mining venue for its customers.

       7.     The Debtor provides a state of the art mining facility in Virginia Beach,

Virginia, and maintains, until August 1, 2019, offices located at 130 S. Jefferson Street,

Suite 101, Chicago, Illinois, 60661.

       8.     The Debtor is wholly owned by BCause LLC, which is a limited liability

holding company also formed in Virginia.

       9.     The Debtor’s Chapter 11 filing was triggered by a judgment entered in favor

of WESCO in the approximate amount of $1,300,000 and a garnishment of BCause LLC’s

bank account, from which all of the Debtor’s bills are paid, including bills for utilities such

as Dominion Energy, which had threatened to shut-off of the Debtor’s utilities for non-

payment, as of April 12, 2019.

                  RELATIONSHIP BETWEEN THE DEBTOR AND SBI

       10.    SBI is a customer of and investor in the Debtor, with a 40% stake in the

Debtor and representing approximately 35% of the Debtor’s revenue.

                    THE EQUIPMENT RENT TO OWN AGREEMENT

       11.    By this Motion, the Debtor is asking for authority to enter into an Equipment

Rent to Own Agreement with SBI (the “Agreement”), whereby the Debtor will lease to own

up to 3,500 Bitmain Antminer S9 cryptocurrency miners (the “Miners”) with a reasonable

expectation that the number of miners leased will total approximately 1,750, which are



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currently in storage located at the Debtor’s datacenter located at 5465 Greenwich Road,

Virginia Beach, Virginia. A copy of the Agreement is attached hereto as Exhibit A.

       12.    Under the terms of the Agreement, the Debtor agrees to repair the Miners

at its own cost in order for the Debtor to exclusively use and operate the Miners. In

addition, the Debtor and SBI intend that ownership of all of the Miners and other related

equipment shall transfer to the Debtor upon full completion of this Agreement by way of

rental payments made to SBI being applied to the purchase price during the rental period.

       14.    Article 3 of the Agreement provides for the purchase price for each named

Miner, as agreed upon by the parties.

       15.    Approval of the Agreement is in the best interest of the estate and its

creditors, because it provides the Debtor with much needed additional revenue. The

Agreement is immediately beneficial to the Debtor’s “bottom line,” as long as bitcoin

exchange rates stay above $8,000. At present the bitcoin exchange rate is approximately

$10,000.

       16.    At the $10,000/BTC rate of exchange, it is estimated to add $10,000 per

month in free cash flow during the term of the lease. Once complete it is estimated that

this transaction will add $100,000 in free cash flow per month.

       WHEREFORE, BCause Mining LLC prays for the entry of an Order authorizing the

Debtor to enter into the Equipment Rent to Own Agreement with SBI Crypto Co., Ltd.,

and for such other and further relief as is just and equitable.

                                           BCAUSE MINING, LLC

                                           By: /s/Scott R. Clar
                                                  One of its attorneys




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DEBTOR’S COUNSEL:
Scott R. Clar
(Atty. No. 06183741)
Crane, Simon, Clar & Dan
135 S. LaSalle Street, Suite 3705
Chicago, Illinois 60603
312-641-6777
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